                                                                                                                       Uni-Statement
                                                                                                                        Account Number:
                     P O Box 1800
                                                                                                                                    3336
                     Saint Paul Minnesota 55101 0800                                                                    Statement Per od:
                     3902       TRN                    S          X   ST01                                                  Nov 27, 2019
                                                                                                                                 through
                                                                                                                            Dec 24, 2019

                                                                                                                              Page 1 of 1


                      000058222 01 AV 0.383 000638313655589 P Y
                      SCOTT K WILLIAMS                                                                             To Contact U.S. Bank
                      1898 E RICH WAY
                      SALT LAKE CTY UT 84121-4881                                      By Phone:                        1-800-US BANKS
                                                                                                                        (1-800-872-2657)
                                                                                       U.S. Bank accepts Relay Calls
                                                                                       Internet:                             usbank.com




U.S. BANK PACKAGE MONEY MARKET SAVINGS                                                                                   Member FDIC
U S Bank National Association                                                                          Account Number              -3336
Account Summary
Beg nn ng Ba ance on Nov 27                      $          100.00       Number of Days n Statement Per od                          28

       Ending Balance on Dec 24, 2019 $                     100.00




                                                                                                                        124

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                                                                        BALANCE YOUR ACCOUNT
                                                                        To keep track of a your transact ons, you shou d ba ance your account every month. P ease
                                                                        exam ne th s statement mmed ate y. We w assume that the ba ance and transact ons shown are
                                                                        correct un ess you not fy us of an error.

Outstanding Deposits
DATE                         AMOUNT                                     1. L st any depos ts that do not appear on your statement n the Outstand ng Depos ts sect on at
                                                                           the eft. Record the tota .
                                                                        2. Check off n your checkbook reg ster a checks, w thdrawa s ( nc ud ng Deb t Card and ATM)
                                                                           and automat c payments that appear on your statement. W thdrawa s that are NOT checked off
TOTAL                         $                                            shou d be recorded n the Outstand ng W thdrawa s sect on at the eft. Record the tota .
                                                                        3. Enter the end ng ba ance shown on th s statement.                                             $
Outstanding Withdrawals
DATE                         AMOUNT                                     4. Enter the tota depos ts recorded n the Outstand ng Depos ts sect on.                          $
                                                                        5. Tota nes 3 and 4.                                                                             $
                                                                        6. Enter the tota w thdrawa s recorded n the Outstand ng W thdrawa s sect on.                    $
                                                                        7. Subtract ne 6 from ne 5. Th s s your ba ance.                                                 $
                                                                        8. Enter n your reg ster and subtract from your reg ster ba ance any checks, w thdrawa s or other
                                                                           deb ts ( nc ud ng fees, f any) that appear on your statement but have not been recorded n your
                                                                           reg ster.
                                                                        9. Enter n your reg ster and add to your reg ster ba ance any depos ts or other cred ts ( nc ud ng
                                                                           nterest, f any) that appear n your statement but have not been recorded n your reg ster.
                                                                        10. The ba ance n your reg ster shou d be the same as the ba ance shown n #7. If t does not
                                                                            match, rev ew and check a f gures used, and check the add t on and subtract on n your reg ster.
                                                                            If necessary, rev ew and ba ance your statement from the prev ous month.
TOTAL                         $

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
In Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
 f you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt we must hear from you no later than 60 days* after we sent you
the F RST statement on which the error or problem appeared Telephone us at the number listed on the front of this statement or write to us at U S Bank EP MN WS5D 60 Livingston
Ave St Paul MN 55107
   Tell us your name and account number
   Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe there is an error or why you need more information
   Tell us the dollar amount of the suspected error
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly f we need more time we may take up to 45 days to
investigate your complaint For errors involving new accounts point of sale or foreign initiated transactions we may take up to 90 days to investigate your complaint f we decide to do this
we will credit your account within 10 business days for the amount you think is in error so that you will have the use of the money during the time it takes us to complete our investigation f
we ask you to put your complaint or question in writing and we do not receive it within 10 business days we may not credit your account
    *Please note Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement
IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS
Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time f you think this statement is wrong please telephone us at the number
listed on the front of this statement immediately
CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE
What To Do If You Think You Find A Mistake on Your Statement
f you think there is an error on your statement write to us at
U S Bank P O Box 3528 Oshkosh W 54903 3528
n your letter give us the following information
  Account information: Your name and account number
  Dollar Amount: The dollar amount of the suspected error
  Description of problem: f you think there is an error on your bill describe what you believe is wrong and why you believe it is a mistake
You must contact us within 60 days after the error appeared on your statement
You must notify us of any potential errors in writing You may call us but if you do we are not required to investigate any potential errors and you may have to pay the amount in question
While we investigate whether or not there has been an error the following are true
  We cannot try to collect the amount in question or report you as delinquent on that amount
  The charge in question may remain on your statement and we may continue to charge you interest on that amount But if we determine that we made a mistake you will not have to
  pay the amount in question or any interest or other fees related to that amount
  While you do not have to pay the amount in question you are responsible for the remainder of your balance
  We can apply any unpaid amount against your credit limit
Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate use the dates and balances provided in the Reserve Line Balance Summary section
The date next to the first Balance Subject to nterest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one) We multiply the
Balance Subject to nterest by the number of days it is applicable and add them up to get the same number of days in the billing cycle We then divide the result by the number of billing
days in the cycle This is your Balance Subject to Interest Rate Any unpaid interest charges and unpaid fees are not included in the Balance Subject to nterest The *** NTEREST
CHARGE*** begins from the date of each advance
REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus Late payments missed payments or other defaults on your account may be reflected in your credit report
CONSUMER REPORT DISPUTES
We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA) As a result this
may prevent you from obtaining services at other financial institutions f you believe we have inaccurately reported information to a CRA you may submit a dispute by calling 844 624 8230
or by writing to U S Bank Attn Consumer Bureau Dispute Handling (CBDH) P O Box 3447 Oshkosh W 54903 3447 n order for us to assist you with your dispute you must provide
your name address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e g
affidavit of identity theft) if applicable




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